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                                                                    UNIVERSITY OF SOUTHERN CALIFORNIA,
                                                                9   GRETCHEN DAHLINGER MEANS, individually and in her
                                                                    official capacity, and AINSLEY CARRY,
                                                               10
                                                                    individually and in his official capacity
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                                                                                            UNITED STATES DISTRICT COURT
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                                                                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                                                               17   MATTHEW BOERMEESTER,                    Case No. 2:19-cv-02137-VAP-MRW
                                                               18
                                                                               Plaintiff,
                                                               19                                           EIGHTH JOINT STATUS REPORT
                                                               20       v.

                                                               21   UNIVERSITY OF SOUTHERN
                                                               22   CALIFORNIA, GRETCHEN
                                                                    DAHLINGER MEANS, individually
                                                               23   and in her official capacity, and Dr.
                                                               24   AINSLEY CARRY, individually and
                                                                    in his official capacity,
                                                               25
                                                               26              Defendants.

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                                                              1         Pursuant to the Court’s August 21, 2020 Minute Order Requiring Parties to
                                                              2   File Status Report, Plaintiff MATTHEW BOERMEESTER (“Plaintiff”), and
                                                              3   Defendants UNIVERSITY OF SOUTHERN CALIFORNIA, GRETCHEN
                                                              4   DAHLINGER MEANS, individually and in her official capacity, and AINSLEY
                                                              5   CARRY, individually and in his official capacity, (collectively “Defendants”) by
                                                              6   and through their respective counsel, submit this joint status report:
                                                              7         There are no changes to the status since the parties’ Seventh Joint Status
                                                              8   Report. As described therein, on May 28, 2020, the Court of Appeal for the State of
                                                              9   California issued an opinion directing the Superior Court to reverse its decision
                                                             10   denying Plaintiff’s Petition for Writ of Administrative Mandate (“Petition”) against
                                                             11   University of Southern California and Ainsley Carry (“Respondents”). On
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                                                             12   September 16, 2020, the Supreme Court of California granted Respondents’ Petition
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                                                             13   for Review of the Court of Appeal’s decision. The Supreme Court of California
                                                             14   also ordered the Court of Appeal’s decision to be depublished. Respondents filed
                                                             15   their opening brief on the merits on December 14, 2020. Plaintiff filed his answer
                                                             16   brief on the merits on March 12, 2021. Respondents filed their reply brief on the
                                                             17   merits on June 1, 2021. The Supreme Court of California has not yet scheduled oral
                                                             18   argument on the matter.
                                                             19         Defendants’ Position.
                                                             20         Defendants respectfully request that the stay issued on July 12, 2019 remain
                                                             21   in effect until such time as the California State court reaches a final decision on
                                                             22   Plaintiff’s Petition. The stay was issued because this Court determined that
                                                             23   resolution of the Petition was likely to have a significant impact on this case. (Dkt #
                                                             24   38, p. 2.) That remains true. Indeed, nothing has changed since the parties’ filed
                                                             25   their last joint report on March 8, 2022, in which Plaintiff agreed the stay should
                                                             26   remain in effect, except the parties are now closer to the getting a critical guidance
                                                             27   from the Supreme Court of California.
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                                                              1         In connection with the Petition, the Supreme Court of California is currently
                                                              2   considering (among other things) under what circumstances, if any, the common law
                                                              3   right to fair procedure requires a private university to afford a student who is subject
                                                              4   to disciplinary proceeding with the opportunity to utilize certain procedural process,
                                                              5   such as cross-examination at a live hearing. Resolution of this issue is integral to
                                                              6   the claims in Plaintiff’s Complaint.
                                                              7         Plaintiff’s third claim, for purported denial of fourteenth amendment
                                                              8   procedural due process, is premised on his assertion that USC’s investigation did not
                                                              9   provide him with a fair process consistent with the common law right to a fair
                                                             10   hearing. (Compl. ¶ 220, 231, 237-246.) The Supreme Court of California’s
                                                             11   decision will clarify the scope of the common law right to a fair procedure and
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                                                             12   therefore certainly have an impact on Plaintiff’s third claim.
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                                                             13         Similarly, Plaintiff’s claims for violation of Title IX, breach of contract,
                                                             14   promissory estoppel, negligence, and intentional infliction of emotional distress are
                                                             15   all premised on Plaintiff’s assertion that USC’s investigation was unfair. (Compl.
                                                             16   ¶¶ 170, 171 (iv)-(v), 261, 268, 278, 283.) The Supreme Court of California’s
                                                             17   decision is likely to inform the Court’s view of these claims and the issues, if any,
                                                             18   subject to discovery. Thus, a stay is appropriate and should not be lifted,
                                                             19   particularly based solely on the brief statement of the parties’ position in this Joint
                                                             20   Report. Leyva v. Certified Grocers of California, Ltd. 593 F.2d 857, 863–864 (9th
                                                             21   Cir. 1979) (“A trial court may, with propriety, find it is efficient for its own docket
                                                             22   and the fairest course for the parties to enter a stay of an action before it, pending
                                                             23   resolution of independent proceedings which bear upon the case. This rule applies
                                                             24   whether the separate proceedings are judicial, administrative, or arbitral in character,
                                                             25   and does not require that the issues in such proceedings are necessarily controlling
                                                             26   of the action before the court.”)
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                                                              1         Plaintiff’s Position.
                                                              2         Plaintiff respectfully requests that the stay issued on July 12, 2019 be lifted
                                                              3   and the Court permit the instant litigation to proceed. Plaintiff exhausted his judicial
                                                              4   remedies by asserting a cause of action under Code Civ. Proc., § 1094.5. See Doe v.
                                                              5   Cal. Inst. of Tech., No. 18-09178, 2019 WL 4238888, at *3 (C.D. Cal. Apr. 30,
                                                              6   2019) (“Plaintiff has exhausted his judicial remedies by asserting a cause of action
                                                              7   under § 1094.5 in the FAC, and this Court maintains jurisdiction over Plaintiff’s
                                                              8   federal claims at this time.”) The issues pending before the Supreme Court of
                                                              9   California1 are not likely to have a substantial impact on Plaintiff’s claims that he
                                                             10   was discriminated against on the basis of his sex (see Doe v. Regents of the Univ. of
                                                             11   Cal., 23 F.4th 930, 937-941 (9th Cir. 2022), nor his claims of denial of Due Process
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                                                             12   under the Fourteenth Amendment, breach of contract, promissory estoppel,
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                                                             13   negligence, and intentional infliction of emotional distress.
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                                                                   1. Under what circumstances, if any, does the common law right to fair procedure
                                                                  require a private university to afford a student who is the subject of a disciplinary
                                                             23   proceeding with the opportunity to utilize certain procedural processes, such as
                                                             24   cross-examination of witnesses at a live hearing? 2. Did the student who was the
                                                                  subject of the disciplinary proceeding in this matter waive or forfeit any right he
                                                             25   may have had to cross-examine witnesses at a live hearing? 3. Assuming it was error
                                                             26   for the university to fail to provide the accused student with the opportunity to cross-
                                                                  examine witnesses at a live hearing in this matter, was the error harmless? 4. What
                                                             27   effect, if any, does Senate Bill No. 493 (2019-2020 Reg. Sess.) have on the
                                                             28   resolution of the issues presented by this case?
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                                                                                                EIGHTH JOINT STATUS REPORT
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                                                              1   DATED: June 13, 2022                MARK M. HATHAWAY, ESQ.
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                                                              7                                       By: /s/ Jenna E. Parker
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                                                              9                                           MATTHEW BOERMEESTER
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                                                                                                      By: /s/ Karen J. Pazzani**
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                                                                                                         MEANS, individually and in her official
                                                             19
                                                                                                         capacity, and AINSLEY CARRY, individually
                                                             20                                          and in his official capacity
                                                             21
                                                                        **Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all other
                                                             22
                                                                  signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
                                                             23
                                                                  content and have authorized the filing.
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                                                                                                EIGHTH JOINT STATUS REPORT
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                                                              1                             CERTIFICATE OF SERVICE
                                                              2          I am a citizen of the United States and employed in Los Angeles County,
                                                                  California. I am over the age of 18 and not a party to the within action. My
                                                              3
                                                                  business address is 1150 South Olive Street, Suite 1800, Los Angeles, California
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                                                                         On June 13, 2022, I hereby certify that I electronically filed the foregoing
                                                              5
                                                                  document described/listed below with the Clerk of the Court for the United States
                                                              6   District Court, Central District of California. Participant(s) in the case who are
                                                                  registered users will be served by the CM/ECF system, electronically transmitted,
                                                              7
                                                                  and served the foregoing document(s) described as: EIGHTH JOINT STATUS
                                                              8   REPORT
                                                              9
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                                                                        Executed on June 13, 2022, at Los Angeles, California.
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                                                                                                          /s/ Karen J. Pazzani
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                                                                                                          Karen J. Pazzani
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                                                                                               CERTIFICATE OF SERVICE
